                                                                                                                                             FNS Monthly Report from DC for January 2020 - Monthly Measures                                                                                                                  Exhibit U
                                                                                                                                                        DC Department of Human Services (DHS)
                                                                                  SNAP Monthly Report (Caseload, Timeliness, Notice, Payment, Customer Service, and Work Queue)

                                                                                                                                                                                                                                                Monthly
          No                   Measure                      Unit     Jan-19      Feb-19      Mar-19      Apr-19      May-19      Jun-19        Jul-19     Aug-19      Sep-19     Oct-19      Nov-19      Dec-19      Jan-20      Trend   Goal                                                 Note                                          Data Source
                                                                                                                                                                                                                                                Average
      I. Caseload, Entries, Exits & Certification Activities
                 Total number of cases with SNAP                                                                                                                                                                                                            Number of households paid for the respective month. The current and          DCAS [Caseload
      1          benefit issued (Caseload)
                                                              #       65,473      64,773      64,487      64,035      64,060      64,202       64,691      65,330      65,410     65,717      65,263      64,949      64,609             N/A     65,002 the previous month data are estimates.                                           Report] + FNS-388
                                                                                                                                                                                                                                                            Total monthly benefit amount paid. The current and previous month
      2          Total SNAP benefit issuance                  $      $14,256K    $14,194K    $14,101K    $13,775K     $13,891K   $13,921K      $13,933K   $14,108K    $14,241K    $14,284K   $14,278K    $14,234K    $13,893K            N/A     $14,153K                                                                                Same as above
                                                                                                                                                                                                                                                            data are estimates (same as FNS-388 data).
                          Caseload/payment (1/2) data updated on     3/11/2019   4/11/2019   5/16/2019   6/11/2019   7/10/2019   8/11/2019    9/11/2019 10/15/2019 11/15/2019 12/11/2019     1/13/2020   2/14/2020   2/14/2020
      3          Initial applications received (Total)        #        3,645       2,552       3,137       2,960       3,321       3,113        3,135       3,525       3,061      3,521       2,867       2,648       3,189             N/A      3,125
                                                                                                                                                                                                                                                            All applications compiled based on [application filing date/month] when
             a                                 Approved       #        2,963       2,110       2,741       2,585       2,813       2,582        2,742       2,912       2,432      2,791       2,259       2,151       2,626             N/A      2,599 the customer submitted the original application. This is NOT static
             b                                   Denied       #          245         217         233         183         265         263          233         328         304        433         336         290         320             N/A        276 information but point-in-time status as of the report run date and data DCAS Report [Newly
                                                                                                                                                                                                                                                        in certain category may change. As of March 2019, the withdrawn
             c             Remaining in Pending Status        #          220           86          33          65          90        133            28        124         162        116         109           79          93            N/A        100 category includes applications withdrawn by customers and withdrawn Filed Applications]
             d                Withdrawn by Customers          #          217         139           89        106         123         114            91        125         115        146         120         101         128             N/A         124 due to active duplicate application processed. Previously, we reported
                                                                                                                                                                                                                                                            all withdrawn applications in one row.
             e           Withdrawn due to duplication         #                                   41          21          30          21           41          36          48         35          43          27          22             N/A         33
      4          Initial applications approved                #        2,861       2,139       2,532       2,524       2,745       2,570        3,041       2,938       2,022      2,775       2,264       2,254       2,488             N/A      2,557                                                                                  DCAS Report
                                                                                                                                                                                                                                                        This is NOT a subset of #3 (initial applications filed) but is defined based
             a                     Approved for e-SNAP        #        2,102       1,529       1,823       1,813       1,965       1,800        2,055       2,074       1,657      1,951       1,605       1,539       1,777             N/A      1,826 on [application approval/certification date].                                    [Approved and
             b               Approved for regular SNAP        #          759         610         709         711         780         770          986         864         365        824         659         715         711             N/A        731                                                                                  Denied Applications]

      5          Initial applications denied                  #          385         349         381         239         304         433          315         531         365        509         492         411         367             N/A        390 Based on [application denial date]                                               Same as above
                                 Application (3-5) data updated on    2/7/2019   3/11/2019    4/9/2019   5/16/2019   6/17/2019   7/10/2019    8/12/2019    9/9/2019   10/9/2019 11/15/2019 12/12/2019    1/13/2020   2/14/2020
      6      a Recertification approved                       #        3,642       2,666       2,919       2,635       2,625       2,843        3,484       3,066       2,604      3,638       2,380       2,887       3,156             N/A      2,940 Data provided previously was compiled based on the date of receipt of Recertification
             b Mid-certification form approved                #        3,150       2,186       2,403       2,358       2,610       2,114        2,624       2,496       1,919      2,544       1,906       2,261       2,665             N/A      2,371 recert/mid-cert forms. As of May 2019, this data has been updated to Information for all
                                                                                                                                                                                                                                                            compile the number based on the date of approval.                            ESA Programs
             c Interim contact form approved                  #          684         620         780         715         723         748          860         862         795      1,030         733         875         924             N/A         776
                                                                                                                                                                                                                                                            Total number of SNAP households whose certification periods are
      7          Households due to recertify (Total)          #        4,364       4,659       4,344       4,357       3,875       4,354        4,362       3,790       4,193      4,681       3,477       4,392       3,802             N/A      4,236 scheduled to expire during month.

             a             Approved before cert ended        #        2,367       2,086       1,919       1,983        1,874      1,975         2,225      1,897       1,938       2,388      1,390       1,860       1,650              N/A      1,951 Those who recertified before the existing certification period ended.
                                                                                                                                                                                                                                                            Those approved for recertification after the existing certification period
             b           Approved during grace period        #           715      1,169       1,191       1,236          958      1,243         1,143         938      1,199       1,159      1,044       1,336          814             N/A      1,120 ended (the grace period). Data in this category may increase.
                                                                                                                                                                                                                                                            Those who submitted a recertification form but were denied due to
             c                Denied due to ineligibility    #            12          12            5           3           1           1            3           4          5           0           2           4           3            N/A           5 ineligibility.                                                                  Same as above

                                                                                                                                                                                                                                                            Those who submitted recert form but recertification is still in process or
             d                     In process / pending      #              4         41          28          13          46          47           49          65          76         78          72          50         114             N/A         49     pending due to incomplete interviews or outstanding verification items.

             e             Customers failed to recertify     #        1,266       1,351       1,201       1,122          996      1,088           942         886        975       1,056         969      1,142       1,221              N/A      1,109 Those who did not recertify (yet if the grace period is still applicable).

             f                      Recertification Rate                71%         70%         72%         74%         73%         74%          77%         75%         75%        76%         70%         73%                          N/A       73% Portion of households approved (a+b) out of all due (total)
                 Households due to submit mid-                                                                                                                                                                                                              Total number of SNAP households who are due to submit mid-
      8          certification form (Total)
                                                              #        3,741       3,100       3,282       3,681       2,843       3,325        2,769       3,207       3,085      3,308       3,070       3,544       3,535             N/A      3,282 certification forms in the month.
             a           Approved before mid-cert due        #        2,126       1,495       1,534       1,788        1,370      1,595         1,453      1,649       1,527       1,630      1,418       1,476       1,628              N/A      1,597
             b           Approved during grace period        #          560         796         874       1,061          690        909           618        716         776         785        723         942         645              N/A        784
                                                                                                                                                                                                                                                                                                                                         Same as above
             c                Denied due to ineligibility    #            9           4           0           2            0          0             0          1           2           1          2           0           1              N/A          3
                                                                                                                                                                                                                                                        Same as for recertification
             d                     In process / pending      #           14          24          15          39           66         47            93         89          83          88        101         105          99              N/A         62
             e     Customers failed to submit mid-cert       #        1,032         781         859         791          717        774           605        752         697         804        826       1,021       1,162              N/A        836
             f                    Mid-certification Rate               72%         74%         73%         77%          72%        75%           75%        74%         75%         73%        70%         68%                                     73%




DC DHS ESA                                                                                                                                                                                                                                                                                                                                                   Page 1 of 4
                                                                                                                                              FNS Monthly Report from DC for January 2020 - Monthly Measures                                                                                                          Exhibit U
                                                                                                                                                                                                                                             Monthly
          No                    Measure                        Unit   Jan-19      Feb-19      Mar-19      Apr-19      May-19      Jun-19        Jul-19     Aug-19    Sep-19      Oct-19     Nov-19      Dec-19      Jan-20      Trend   Goal                                             Note                                        Data Source
                                                                                                                                                                                                                                             Average
               Households due to submit interim                                                                                                                                                                                                         Total number of SNAP households who are due to submit interim
      9        contact form (Total)
                                                                #         910       1,009       1,009         974       1,131       1,028        1,225       1,206      1,434      1,529       1,134      1,275       1,181             N/A     1,140 contact forms in the month.
             a          Approved before contact due             #        456         483         465         471         543         509          590         581        638        733        472         560          533             N/A      534
             b           Approved during grace period           #        146         228         210         190         235         220          230         227        324        310        287         299          202             N/A      236
                                                                                                                                                                                                                                                                                                                                  Same as above
             c                 Denied due to ineligibility      #          2           1           2           1           1           0            0           2          1          0          2           1            0             N/A         1
                                                                                                                                                                                                                                                      Same as for recertification
             d                      In process / pending        #          1           7           3          22          33          14           54          53         68         80         54          53           53             N/A        35
             e        Customers failed to submit forms          #        305         290         329         290         319         285          351         343        403        406        319         362          393             N/A      333
             f       Interim Contact Certification Rate        %         66%         70%         67%         68%         69%         71%          67%         67%        67%        68%        67%         67%                                   68%
                                            Data for 6-9 updated on   3/18/2019   4/10/2019   5/16/2019   6/17/2019   7/10/2019   8/12/2019     9/9/2019    9/9/2019 10/10/2019 12/12/2019 12/12/2019   2/14/2020   2/14/2020
      10         Cases closed/terminated (Total)                #       4,493       4,294       4,332       3,725       4,140       5,032        3,686       3,661      4,149      4,291       4,408      5,088       4,612             N/A     4,375
             a                      Recert - No response        #       1,613       2,139       2,173       2,110       1,773       2,143        1,874       1,561      1,907      1,932       1,874      2,247       1,834             N/A     1,987
             b                    Recert - Eligibility rules    #          34          26          33          15          31          30           21          39         31         26          26         50          39             N/A        32
             c        Recert - Outstanding verification         #          96         121         105          65          87         133           87         101        152        137         120         93         142             N/A       111
             d                              Recert - Other      #          32          32          26           7          34          34           27          26         29         38          24         30           3             N/A        27                                                                             DCAS Report [Closed
             e                    Mid-cert - No Response        #       1,829       1,355       1,132       1,179       1,368       1,665        1,002       1,402      1,465      1,525       1,557      1,963       1,826             N/A     1,490                                                                             Cases]
             f                 Mid-cert - Eligibility rules     #          26          12          15           5          24          27           24          20         22         15          20         22          21             N/A        19
             g      Mid-cert - Outstanding verification         #          33          34          19          15          31          52           24          20         21         30          28         22          27             N/A        28
             h                           Mid-cert - Other       #          11          13           7           5          17          23           10          19         19         16          15         12          25             N/A        15
             i       Closed following evidence change           #         819         562         822         324         775         925          617         473        503        572         744        649         695             N/A       668
                                   Closed Case data (10) updated on    2/7/2019   3/15/2019   4/17/2019   5/28/2019   6/17/2019   7/11/2019    8/12/2019    9/9/2019 10/10/2019 11/15/2019 12/12/2019   1/15/2020   2/14/2020
      II. Timely Processing of Application
      11         QC APT Rate                                    %     95.83%                  95.83%      97.50% 100.00%          95.83%        86.67% 100.00%        90.32%                                                                 93.81% QC sample review result, which is the basis for FNS APT rate.                FNS State QC System

      12         State APT Rate                                 %     87.77%      87.94%      88.94%      84.80%      88.72%      88.49%        88.75%     88.76%     85.42%     87.09%     84.51%      84.54%      86.83%                   87.26% Measured following the FNS protocol for the universe applications.
                                                                                                                                                                                                                                                     Should be noted that this measure includes only initial applications as      DCAS Report [SNAP
             a                                     e-SNAP       %     85.95%      85.67%      87.17%      83.20%      86.88%      86.17%        86.32%     86.66%     81.81%     83.53%     81.34%      80.47%      83.76%                   84.71% the District treats recertification cases differently from initial           APT Rate]
             b                              Regular SNAP        %     92.83%      93.64%      93.53%      88.68%      93.39%      93.90%        93.81%     93.79%     93.94%     95.51%     92.27%      93.29%      94.51%                   93.35% applications.
      13         Adjusted State APT Rate                        %     95.73%      95.85%      96.22%      93.10%      95.54%      96.32%        96.74%     96.03%     93.30%     94.67%     93.52%      94.54%      95.29%                   95.28% Exclude applications where the number of days from the application           Analysis of [SNAP
                                                                                                                                                                                                                                                     filing date to the latest verification clearance date exceeds the required   APT Rate] data
             a                                     e-SNAP       %     94.75%      94.97%      95.13%      93.22%      94.61%      95.63%        95.89%     95.24%     91.50%     92.98%     91.81%      93.14%      94.13%                   94.24% timeframe - consider them delayed due to customer's delayed                  conducted by ESA
             b                              Regular SNAP        %     98.34%      97.95%      98.96%      92.84%      97.83%      97.83%        98.40%     97.84%     97.23%     98.38%     97.44%      97.23%      97.96%                   97.64% submission of documentation.                                                 Data Division
                                                                                                                                                                                                                                                                                                                                  DCAS Report
                                                                                                                                                                                                                                                        Timeliness of recertification has been defined based on the statutory
      14         Recertification Timeliness Rate                %     97.89%      96.77%      96.33%      97.57%      96.50%      98.41%        97.21%     96.93%     96.91%     95.05%      94.11%     95.95%      95.60%                   96.58% requirements on timely submission and processing of recertification.         [Recertification
                                                                                                                                                                                                                                                                                                                                  Timeliness]
                                  APT Rate (11-14) data updated on    2/13/2019   3/11/2019   4/10/2019   5/13/2019   6/10/2019   7/10/2019    8/12/2019    9/9/2019 10/15/2019 11/15/2019 12/12/2019    1/9/2020   2/10/2020




DC DHS ESA                                                                                                                                                                                                                                                                                                                                            Page 2 of 4
                                                                                                                                           FNS Monthly Report from DC for January 2020 - Monthly Measures                                                                                                            Exhibit U
                                                                                                                                                                                                                                            Monthly
        No                     Measure                    Unit     Jan-19      Feb-19      Mar-19      Apr-19      May-19      Jun-19        Jul-19       Aug-19     Sep-19     Oct-19     Nov-19      Dec-19      Jan-20      Trend   Goal                                             Note                                        Data Source
                                                                                                                                                                                                                                            Average
      III. Notice
      15 a Households due to recertify                      #        4,364       4,659       4,344       4,357       3,875      4,354         4,362        3,790      4,193      4,681       3,477       4,392       3,802                    4,236
             b              Notice of expiration mailed     #        4,337       4,625       4,295       4,322       3,814      4,317         4,344        3,757      4,158      4,652       3,453       4,350       3,785                    4,200
                                                                                                                                                                                                                                                    It should be noted that the District mails notices for recertification and
             c                    % with notice mailed     %         99.4%       99.3%       98.9%       99.2%       98.4%      99.2%         99.6%        99.1%      99.2%      99.4%       99.3%       99.0%       99.6%                   99.2% periodic reports to all customers (100%) due between 45-60 days prior
      16 a Households due to submit mid-cert                #        3,741       3,100       3,282       3,681       2,843      3,325         2,769        3,207      3,085      3,308       3,070       3,544       3,535                    3,282 to the due date. However, some cases may have their recert/mid-cert          Recertification
             b          Mid-certification forms mailed      #        3,739       3,098       3,277       3,678       2,826      3,316         2,768        3,206      3,084      3,306       3,068       3,532       3,530                    3,255 due dates added manually after the notices have been sent out when           Information for all
             c           % with mid-cert forms mailed      %         99.9%       99.9%       99.8%       99.9%       99.4%      99.7%        100.0%       100.0%     100.0%      99.9%       99.9%       99.7%       99.9%                   99.2% there is any unusual event triggering a change of the respective             ESA Programs
                                                                                                                                                                                                                                                    certification periods. They will be treated as those with no notices
      17 a Households due for interim contact               #          910       1,009       1,009         974       1,131      1,028         1,225        1,206      1,434      1,529       1,134       1,275       1,181                    1,140 mailed in this measure.
             b            Interim contact forms mailed      #          907       1,007       1,008         973       1,113      1,028         1,225        1,203      1,434      1,529       1,134       1,274       1,180                    1,130
             c                    % with forms mailed      %         99.7%       99.8%       99.9%       99.9%       98.4%     100.0%        100.0%        99.8%     100.0%     100.0%      100.0%       99.9%       99.9%                   98.9%
      18 a SNAP notices issued (passed)                     #       39,852      41,331      35,905      36,848      37,369     34,745        38,668       98,906     30,975     41,098      31,372      47,480      34,314                   43,094
                                                                                                                                                                                                                                                                                                                                 DCAS Report [Notice
             b SNAP notices failed                          #          406         327         359         347         488        336           389          269        429        535          96         131          85                      319                                                                              Dashboard]
             c Notice pass rate                            %         99.0%       99.2%       99.0%       99.1%       98.7%      99.0%         99.0%        99.7%      98.6%      98.7%       99.7%       99.7%       99.8%                   99.2%
       19 a SNAP IPV notice issued (passed)                 #                                                                                                                                                            3
                                                                                                                                                                                                                                                                                                                                 DCAS Report [Notice
             b SNAP IPV notice failed                       #                                                                                                                                                            1                                                                                                       Dashboard]
             c SNAP IPV notice pass rate                   %                                                                                                                                                         75.0%             
       20 a SNAP Interview Appointment notice               #                                                                                                                                                             8
               issued (passed)
               SNAP Interview Appointment notice                                                                                                                                                                                                                                                                                 DCAS Report [Notice
             b
               failed
                                                            #                                                                                                                                                             1                                                                                                      Dashboard]
               SNAP Interview Appointment notice
             c                                             %                                                                                                                                                        88.9%              
               pass rate
                                  Notice (15-20) data updated on   3/18/2019   3/18/2019   4/17/2019   5/18/2019   6/17/2019   7/12/2019    8/12/2019      9/9/2019 10/10/2019 11/15/2019 12/12/2019   1/15/2020   2/14/2020
      IV. Payment Issues
                                                                                                                                                                                                                                                                                                                             DCAS [Duplicate
      21         Duplicate payments during month            #             5           7           3           4           4           6               5          6          7         10         11           9           3                       6 Households with duplicate payments during the month                     Payment]
                                                                                                                                                                                                                                                      Working with OPRMI to start reporting data with the same logic used in OPRMI Fraud
      22-24 Overpayment and IPV metrics                                                                                                                                                                                                               the 366-B report.                                                      Division
      V. Customer Services
      25         Customer visits per day                    #          746         748         817         812         853         879          928           979        982        971         949        889         968                     871
                                                                                                                                                                                                                                                      In May 2019, DHS implemented a pre-triage navigator process, which
      26         Average wait time in lobby               h:m         2:06        1:36        1:54        1:56        2:09        2:20          2:27         2:12       2:19        1:49       2:00       2:07        2:36                    2:05 resulted in a noticeable increase in the measurable wait time by adding PathOS
                                                                                                                                                                                                                                                      pre-triage wait time that had not been captured previously.
      27         Lobby completion rate                     %           85%         85%         86%         84%         84%         85%          85%          85%         83%        84%        85%         87%         85%             ➔        85% Completed (one-and-done) on the same day




DC DHS ESA                                                                                                                                                                                                                                                                                                                                             Page 3 of 4
                                                                                                          FNS Monthly Report from DC for January 2020                                                                                       Exhibit U
                                                                                                           DC Department of Human Services (DHS)
                                                                                        SNAP Backlog (Pending Applications and Recertifications)
        No                Measure                  07/15/19 07/24/19 08/15/19 08/30/19 09/13/19 09/30/19 10/15/19 10/30/19 11/15/19 12/02/19 12/16/19 12/30/19 01/15/20 01/30/20 Trend                              Note                                 Data Source
    Application Backlog (Overdue Pending Applications without Outstanding Verification Items Waiting for Action)
    1        Overdue pending app - Total                12       11      15       26       27       28       18       17       39       24       28       31       28      29            Overdue: pending for >7 days for e-SNAP, for >30 days for
                                                                                                                                                                                         regular SNAP applications with no outstanding verification
         a                  Overdue by 1-30 days         4        6       4        4       17       15       11        4       18       13        9        9       16      17
                                                                                                                                                                                         as of report run date. The breakdown shows the number of
         b                 Overdue by 31-60 days         7        4       9       12        7       10        5        9       16       10       15       18        9       8            pending overdue applications by length overdue: # of days
         c                   Overdue by >60 Days         1        1       2       10        3        3        2        4        5        1        4        4        3       4            beyond the required timeframe.
    2        Overdue pending - eSNAP Only                4        7       7       10       18       20       14        8       20       14       12       14       18      20
         a                  Overdue by 1-30 days         4        6       4        4       17       15       11        4       18       13        9        9       16      17            This is e-SNAP applications only and a sub-group of measure
         b                 Overdue by 31-60 days         0        1       3        3        1        5        2        3        2        1        1        4        2       1            1 above.
         c                  Overdue by > 60 Days         0        0       0        3        0        0        1        1        0        0        2        1        0       2
                                                                                                                                                                                                                                                          DCAS Report
    3        Overdue pending -Regular Only               8        4       8       16        9        8        4        9       19       10       16       17       10       9                                                                              [Pending
         a                  Overdue by 1-30 days         0        0       0        0        0        0        0        0        0        0        0        0        0       0            This is regular SNAP applications only and a sub-group of        Applications]
         b                 Overdue by 31-60 days         7        3       6        9        6        5        3        6       14        9       14       14        7       7            measure 1 above.
         c                  Overdue by > 60 Days         1        1       2        7        3        3        1        3        5        1        2        3        3       2
    Overdue Pending Applications with Outstanding Verification Items (to be Submitted by Customers)
    4        Overdue w/ outstanding verification      165      182      153      114       85      102       75       97       85       51       72       90       85      92
                                                                                                                                                                                         Overdue: pending for >7 days for e-SNAP, for >30 days for
         a                  Overdue by 1-30 days        29       32      25       19       19       18       19       23       23       17       22       21       18      23            regular SNAP applications with >=1 outstanding verification
         b                 Overdue by 31-60 days        65       57      63       48       42       47       35       40       45       15       32       40       46      34            as of report run date.
         c                  Overdue by > 60 Days        71       93      65       47       24       37       21       34       17       19       18       29       21      35
    Recert/Mid-cert Backlog (Overdue Pending Recertifications and Periodic Reports Waiting for Agency's Action)
    5        Overdue pending -Recertification                    28      39       41       48       10       19       22       46       41       31       37       55      54
         a                  Overdue by 1-30 days                 16      19       15       13        5       17       18       29       25       18       18       27      18
         b                 Overdue by 31-60 days                  5       8        9       16        3        1        3       14       14        8       11       15      13
         c                  Overdue by > 60 Days                  7      12       17       19        2        1        1        3        2        5        8       13      23            Overdue: if 1) a customer did not receive benefits for the
    6        Overdue pending - Mid-cert                          19      28       29       28        4        4        3       16       22       13       13       30      33            cert period without a break when the customer submitted
                                                                                                                                                                                         recert form <=15th of the recert (or periodic report) due       Recertification
         a                  Overdue by 1-30 days                 12      14        9        3        4        4        3       10       10        5        4       13      17            month; or 2) if a customer did not receive benefits within 30 Information for all
         b                 Overdue by 31-60 days                  6      10        9       14        0        0        0        1        4        4        2        1       2            days from the recert submission date when the customer          ESA Programs
         c                  Overdue by > 60 Days                  1       4       11       11        0        0        0        5        8        4        7       16      14            submitted the form after the 15th of the month or during
                                                                                                                                                                                         the grace period as of report run date.
    7        Overdue pending - Interim Contact                    4        4        5        5       0        4        5        8       14        6        8       12      13
         a                  Overdue by 1-30 days                  3        2        1        2       0        4        4        5       10        3        3        5        5
         b                 Overdue by 31-60 days                  1        2        3        1       0        0        1        3        4        1        3        2        2
         c                  Overdue by > 60 Days                  0        0        1        2       0        0        0        0        0        2        2        5        6




DC DHS ESA                                                                                                                                                                                                                                                          Page 4 of 4
